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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                           Criminal No. 22-76(2) KMM/TNL

United States of America,

                                  Plaintiff,

v.                                                ORDER FOR APPOINTMENT
                                                  OF COUNSEL
William Charles Saffold,

                                Defendant.


       The Court has determined that the defendant in the above matter is financially

unable to employ counsel and finds that it is in the interest of justice that counsel be

assigned.

       IT IS HEREBY ORDERED that Ryan Garry, Attorney ID 0336129, is appointed

as counsel pursuant to 18 U.S.C. § 3006A.


Dated: June 8, 2022                            s/John F. Docherty
                                               Honorable John F. Docherty
                                               United States Magistrate Judge
